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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MARK SINGER,                                   )
                                               )
          Plaintiff,                           )       CASE NO. 19-CV-3954
                                               )
v.                                             )       Honorable Elaine E. Bucklo
                                               )
CITY OF CHICAGO,                               )
                                               )
          Defendant.                           )

                                    JOINT STATUS REPORT

          The parties, by their undersigned counsel, respectfully submit the following Joint Status

Report:

A.        Progress of Discovery

          The parties completed Plaintiff’s deposition following Plaintiff’s recovery from surgery.

The only fact deposition remaining is the City’s 30(b)(6) deposition. The parties have agreed to

complete the City’s 30(b)(6) deposition within the time previously set for expert discovery. The

City opposes extension of fact discovery for any purpose other than completion of the 30(b)(6)

deposition. Plaintiff does not seek any other fact discovery. The parties have determined that they

will not retain expert witnesses.

B.        Status of Briefing on Any Unresolved Motions

          No pending motions.

C.        Settlement Efforts

          The parties have not discussed settlement.

D.        Proposed Schedule for Next 45 Days

          The parties will complete the City’s 30(b)(6) deposition and any expert discovery by

September 29, 2021.
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E.     Proposed Revised Discovery and Dispositive Motion Schedule

       Fact Discovery Completion: September 29, 2021

       Expert Discovery Completion: September 29, 2021

       Date for Filing Dispositive Motions: October 20, 2021

F.     Any Agreed Action the Court Can Take without a Hearing

       Enter revised discovery schedule.

G.     Whether a Telephonic Hearing Is Necessary and Time Urgent

       No.

DATE: July 23, 2021                               Respectfully Submitted,

                                                  MARK SINGER

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                                                  CITY OF CHICAGO

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